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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       No. 09-CR-87
       v.                                             )
                                                      )       Judge Joan H. Lefkow
FRANK FARELLA,                                        )
DONALD CATANZARO, and                                 )
MICHAEL BLAIS,                                        )
                                                      )
                       Defendant.                     )

                                    OPINION AND ORDER

       Defendants Frank Farella, Donald Catanzaro and Michael Blais got caught in a sting

operation set up by the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) in which

they agreed to rob a drug stash house of 50 kilograms of cocaine. On October 26, 2011, after a

three-week trial, the jury returned a verdict of guilty against all three men for conspiracy to

possess with intent to distribute mixtures containing in excess of 5 kilograms of cocaine in

violation of 21 U.S.C. § 841(a)(1) and § 846 (Count I); attempted possession of the same (Count

II); and possession of a firearm in furtherance of a drug trafficking crime in violation of

28 U.S.C. § 924(c)(1)(A) (Count III). Farella was also convicted of being a felon in possession

of a firearm in violation of 18 U.S.C. § 922(g)(1) (Count IV). Before the court are defendants’

post-trial motions for a judgment of acquittal or alternatively for a new trial. For the following

reasons, the motions [Dkt. #238, #239, #240] will be denied.

                                      LEGAL STANDARD

        Federal Rule of Criminal Procedure 29 provides, in pertinent part, that “the court on the

defendant’s motion must enter a judgment of acquittal of any offense for which the evidence is
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insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). When requesting a judgment of

acquittal under Rule 29, a defendant “faces a nearly insurmountable hurdle [because] . . . [the

court] consider[s] the evidence in the light most favorable to the Government, defer[s] to the

credibility determination of the jury, and overturn[s] a verdict only when the record contains no

evidence, regardless of how it is weighed, from which the jury could find guilt beyond a

reasonable doubt.” United States v. Blassingame, 197 F.3d 271, 284 (7th Cir. 1999) (quoting

United States v. Moore, 115 F.3d 1348, 1363 (7th Cir. 1997)).

         Under Federal Rule of Criminal Procedure 33, a court may grant a new trial “if the

interest of justice so requires.” Fed. R. Crim. P. 33. “The decision to grant or deny a motion for

new trial rests within the sound discretion of the trial court.” United States v. Reed, 875 F.2d

107, 113 (7th Cir. 1989). The court may grant a new trial “in a variety of situations in which

trial errors or omissions have jeopardized the defendant’s substantial rights.” United States v.

Reed, 986 F.2d 191, 192 (7th Cir. 1993) (citation omitted). In deciding whether to grant a new

trial under Rule 33, the court “may properly consider the credibility of witnesses, and may grant

a new trial if the verdict is so contrary to the weight of the evidence that a new trial is required in

the interest of justice.” United States v. Washington, 184 F.3d 653, 657 (7th Cir. 1999).

                                         BACKGROUND

I.       Government’s Evidence at Trial

         A.     Farella’s Initial Meeting with “Ace”

         Farella was first approached about robbing a drug stash house by a cooperating

government informant named Steve who put him in touch with undercover ATF Special Agent

Christopher Bayless, known to defendants as “Ace.” At trial, the government presented


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evidence that between December 17, 2008 and January 29, 2009, Farella and Agent Bayless

discussed the details of the robbery during recorded phone calls and in-person meetings. The

transcripts of these discussions were introduced as evidence at trial.

       In their first phone call on December 17, 2008, Agent Bayless asked Farella whether he

wanted to do “a lick for about 50 birds,” meaning a robbery for 50 kilograms of cocaine, to

which Farella responded “brother, that’s what I do.” (Gov. Ex. T-1 at 2.)

       On January 16, 2009, Farella met with Agent Bayless and Steve at an IHOP restaurant

where Agent Bayless explained the details of the robbery, as follows: Agent Bayless would

receive a call notifying him of the location of the stash house. He would then notify Farella and

his crew, who would rob the stash house and then return to a safe location to divide up the loot

with Agent Bayless and another confidential informant named Jamie, who was purportedly

Ace’s recently paroled cousin.

       After the IHOP meeting, Farella began to assemble a crew to help. He contacted a friend,

Catanzaro, to see if he was interested in participating in the scheme. Catanzaro, in turn,

contacted Blais, whom Farella had never met. In subsequent conversations, Agent Bayless and

Farella discussed and finalized the details of the robbery. Farella suggested doing the robbery

dressed as police officers and lining the back of the getaway van with sandbags to stop incoming

bullets. Farella also shared details about his crew with Agent Bayless, telling him that one

member was “comin’ down from Wisconsin,” referring to Catanzaro, and the other member

“does P.I. work for a livin,’” referring to Blais. (Gov. Ex. T-28 at 4.) At trial, the government

offered defendants’ telephone records into evidence, which demonstrated that Farella, Catanzaro

and Blais were in regular contact in the days leading up to the robbery.


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        B.      Portillo’s Meeting

        On the evening of January 28, 2009, defendants assembled at Farella’s house and then

drove to a Portillo’s restaurant to meet with Agent Bayless and Jaime. This meeting was video

recorded by the government and offered as evidence at trial. (See Gov. Ex. T-29.) During the

meeting, defendants expressed their willingness to engage in violence if needed to complete the

robbery. For example, when discussing whether to restrain those guarding the drugs or to kill

them, Blais said they had to be ready for “both scenarios,” to which Farella responded, “[H]ere’s

the deal. We’ll come out, dude, you got an opportunity to live. . . . They choose not to take that,

that’s on them.” (Id. at 29.) As Farella explained to Agent Bayless, “Hey, you’re sittin’ with

some heavy hitters, bro.” (Id. at 35.)

        At one point, Farella asked Agent Bayless to follow him to the men’s bathroom. Agent

Bayless testified that the two men entered a stall and Farella pulled a .45 caliber handgun out of

his waistband and dropped the gun’s magazine to show Agent Bayless that it was loaded.

        Back at the table, Blais told Agent Bayless that he was a licensed private investigator.

Blais offered to survey the neighborhood of the stash house in advance of the robbery using a

hand held GPS device. Blais expressed no concern about being stopped by the police during this

surveillance because he had “a pass.” (Id. at 37.) The parties also discussed dividing up the

drugs after the robbery, with Farella instructing Agent Bayless, “You’ll take yours, we’ll take

ours.” (Id. at 60.)

        The meeting concluded and Blais said that defendants needed to “train and go through . .

. a bunch of stuff tonight” and then they would go over the “final details” with Agent Bayless

and Jamie in the morning. (Id. at 38–39.) Defendants then went out to the parking lot to inspect


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the van that Agent Bayless had rented for the job. Farella reminded Agent Bayless to get

sandbags for the back and Catanzaro suggested getting a diamond plate and using spray paint to

black out the windows. Blais instructed Agent Bayless to give the van “a good wipedown” to

eliminate any fingerprints. (Id. at 70.) Farella also told Agent Bayless that defendants were

“comin’ out as cops” during the robbery and that they had “[t]he vest, the badges” and the

“tactical gear” they needed to look convincing. (Id. at 70–71.) “This is what we do,” said

Farella. (Id. at 71.)

          C.     Day of Arrest

          The next morning defendants visited army surplus stores to purchase needed gear. In the

afternoon, defendants drove to what they believed to be the staging area for the robbery dressed

in all black fatigues. When they arrived, they were promptly arrested. At the scene, agents

recovered, among other items, a .12 gauge shotgun, a .45 caliber handgun, a .38 caliber revolver,

multiple rounds of ammunition, two stolen license plates and tactical gear, including a tactical

belt, a ballistic vest, a small gun holster, a collapsible baton, multiple items of clothing with the

word “Police” printed on them, binoculars, handcuffs and Blais’s GPS device.1 Evidence

introduced at trial demonstrated that defendants purchased some of this gear the morning of the

robbery.

II.      Farella’s Entrapment Defense

          Prior to trial, the government filed a motion in limine to preclude evidence or argument

of an entrapment defense by defendants. (Dkt. #87.) Farella then filed an in camera notice of

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           The .38 caliber revolver, tactical belt, and collapsible baton were found in a suitcase labeled
“M. Blais” in the trunk of Farella’s car. A new pair of handcuffs and a police shirt were also found on the
floor of the front passenger area where Catanzaro sat. Two knit police caps were on the console between
Farella and Catanzaro and a police baseball cap was in the rear passenger area with Blais.

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intent to present an entrapment defense along with an entrapment proffer. (Dkt. #131.) Shortly

before trial, the court denied the government’s motion and allowed Farella to present his defense.

(Dkt. #204.)

        At trial, Farella admitted to participating in the conspiracy but testified that he was not

predisposed to do so and that Steve had induced him into committing the offense. As to his lack

of predisposition, Farella testified that he was legitimately employed and stated that although he

had been to prison in the past, he was now committed to living a law-abiding life.2 He also

testified that he had no experience with a drug deal of this size or type and that he was reluctant

to go through with the offense.

        As to his inducement by the government, Farella testified that an old acquaintance, Steve,

contacted him multiple times suggesting that he participate in various illegal schemes.3 These

conversations were not recorded by the government but Farella introduced his phone records at

trial, which supported his testimony.

        Farella testified that he initially rejected Steve’s illicit requests but eventually gave in

after Steve convinced him that, with money from the robbery, he could obtain a costly medicine

that could cure a potentially life-threatening disease from which Farella’s sister suffered.

According to Farella, Steve said that this medication was not available in the United States but

that he had a contact who could obtain the medication from Canada for a limited time. Farella

testified that he tried to get money for the medication from other sources with no luck. He said



        2
          The government introduced evidence that Farella was convicted in 1997 of attempted armed
robbery and aggravated battery and that in 2006 he was convicted of conspiracy to bring contraband into
a penal institution. (See Dkt. #217 at 12 & 32 of 55.)
        3
            During this time, Steve was considered an agent of the government.

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that he agreed to participate in the robbery only because he believed he was running out of time

to purchase this life-saving medication for his sister.

       Prior to the Portillo’s meeting with Jamie and Agent Bayless, Farella, Catanzaro and

Blais met at Farella’s house to discuss the robbery. Farella testified that Catanzaro and Blais

were hesitant to go through with it but that he wanted to complete the job so he could pay for his

sister’s medication. Farella also testified that after the Portillo’s meeting, Blais asked if he could

spend the night at Farella’s house and Farella agreed.

       The next day, Farella spoke with Agent Bayless multiple times, and at one point told

Agent Bayless that the robbery was off. He later changed his mind, however, telling Agent

Bayless at 1:09 p.m. that “we’re game to ride, bro. We’re ready to roll.” (Gov. Ex. T-36 at 3.)

Shortly before 2:00 p.m., Farella, Catanzaro and Blais arrived at the staging area and were

arrested.

III.   Blais’s Defense

       Prior to trial, Blais, like Farella, intended to present an entrapment defense and presented

a sealed proffer as to entrapment. (Dkt. #126.) The court initially reserved ruling on whether

such a defense was proper but later found that Blais had not presented sufficient evidence for a

reasonable juror to find that he was entrapped. (See Dkt. #204; Tr. 2145, 2178–81, 2357–58.)

Towards the end of trial, Blais indicated for the first time that he intended to take the stand in his

own defense.

       Blais testified that he arrived at Farella’s house believing that he was there to discuss a

contracting job and that the first time he learned about the robbery was when he was riding in

Farella’s car on the way to meet Jamie and Agent Bayless at Portillo’s. Once he learned about


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the plan, Blais said that he immediately felt scared. He had grown up in a gang-infested

neighborhood and previously worked as a prison guard. Based on these experiences, Blais

testified that he could tell that Farella was an “ex-con” and “a dangerous guy.” (Tr. 2230.) This

conclusion was supported by the fact that, according to Blais, he saw Farella pull a hand gun out

of the glove compartment of the car in the parking lot of Portillo’s. Blais testified that he had

“no idea” what was going to happen at the Portillo’s meeting and that his plan was to “get out of

this with my life.” (Id. at 2231.) He was afraid that Farella would hurt him or his family if he

did not go through with the robbery.

       After the meeting, Blais and Catanzaro got back in the car with Farella, who, according

to Blais, told them that he had “stuck a gun in [Agent Bayless’s] mouth and told him that if he

fucks us, I’m going to kill him.” (Id. at 2243.) Once they returned to Farella’s house, Catanzaro

went home but Farella pushed him to stay the night. Blais stated that he agreed to stay because

he was “afraid,” explaining that he “wouldn’t say it [was] a kidnapping” but that Farella

“strongly suggested” that he spend the night, so he did. (Id. at 2246, 2329–30.)

       Blais confirmed that the day of his arrest defendants visited army surplus stores and

purchased needed gear. He testified that defendants dressed in black fatigues to “to give the

appearance like we’re ready to do this” but that he had no intention of actually going through

with the robbery. (Id. at 2252.)

       On cross-examination, the government challenged Blais’s purported fear of Farella,

highlighting Blais’s ability to assess the nature of Farella’s character given his prior experiences.

For example, the government stated that Blais grew up in a “very tough neighborhood” that was

“full of gangs” and that he worked as a corrections officer where “[d]ay after day [he] would be


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around tough people” and, as a result, he “knew how to size up certain people.” (Id. at

2270–71.)

       The government also inquired about five bullets that Blais admitted were missing from

the box of ammunition for his .38 caliber handgun. Blais testified that he had previously used

those bullets at the target range, to which the government responded, “[N]ormally when you

shoot a gun, you shoot more than five rounds” because “[y]ou are shooting it in order to try and

gain accuracy with your shooting ability, correct?” (Id. at 2312.) But this time, “you weren’t

trying for accuracy . . . you were trying to see if a .38 caliber revolver worked, weren’t you?”,

implying that Blais was planning to use the gun in the robbery. (Id.) Blais’s counsel

immediately objected and moved for a mistrial, which the court denied.

       At the close of Blais’s cross-examination, the government asked the court to instruct the

jury on the requirements of a coercion defense. As explained by the government, “Mr. Blais is

saying in essence that[,] maybe if he wasn’t quite kidnapped by Mr. Farella, he did feel some

kind of duress and was going along because of some kind of fear. . . . That’s obviously a very

different claim than not having the requisite intent.” (Id. at 2343–44.) The court agreed and

ultimately gave the government’s proffered coercion instruction over Blais’s objection.

       Finally, Farella took the stand in rebuttal. He testified that he never stuck a gun in Agent

Bayless’s mouth and never told Blais that he did. He also testified that he discussed the details

of the robbery with Catanzaro and Blais at his house before they went to Portillo’s. Blais’s

attorney cross-examined Farella, accusing him of lying to and “conning” Agent Bayless and his

crew. (Id. at 2366–67.) At the close of Farella’s rebuttal testimony, both he and Blais moved for

severance and a mistrial based on antagonistic defenses. (Id. at 2414.) The court later denied the


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motions without prejudice, allowing the parties to raise these issues in their post-trial motions,

which are now pending. (Id. at 2680–81.)

                                            ANALYSIS

I.       Severance

         Defendants each argue that they are entitled to a judgment of acquittal or, in the

alternative, a new trial because the court denied their respective motions to sever. (See Tr.

2680–81; Dkt. #149.) Federal Rule of Criminal Procedure 8(b) provides for joinder of

defendants “if they are alleged to have participated in the same act or transaction, or in the same

series of acts or transactions, constituting an offense or offenses.” Fed. R. Crim. P. 8(b). If

joinder “appears to prejudice a defendant,” however, the court may sever that defendant for trial.

Fed. R. Crim. P. 14(a). The court has “a strong preference” to try co-conspirators together,

United States v. Spagnola, 632 F.3d 981, 987 (7th Cir. 2011), because “[i]n all but the ‘most

unusual circumstances,’ the risk of prejudice arising from a joint trial is ‘outweighed by the

economies of a single trial in which all facets of the crime can be explored once and for all.’”

United States v. Alviar, 573 F.3d 526, 539 (7th Cir. 2009) (quoting United States v. Velasquez,

772 F.2d 1348, 1352 (7th Cir. 1985)). As such, the decision to sever a trial is left to the sound

discretion of the trial court. United States v. Rivera, 6 F.3d 431, 437 (7th Cir. 1993).

         There are instances, however, when severance is essential to a fair trial. To demonstrate

that the court erred in denying severance, a defendant must show that the “joint trial . . .

compromise[d] a specific trial right of one of the defendants, or prevent[ed] the jury from

making a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534,

539, 113 S. Ct. 933, 122 L. Ed. 2d 317 (1993); United States v. Vallone, 698 F.3d 416, 486 (7th


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Cir. 2012). For example, mutually antagonistic defenses may present such a situation. (Defenses

are mutually antagonistic “when the acceptance of one defense precludes any chance of acquittal

for the other defendant.” United States v. Dimas, 3 F.3d 1015, 1020 (7th Cir. 1993); United

States v. Turk, 870 F.2d 1304, 1306 (7th Cir. 1989).) Mutually antagonistic defenses alone are

insufficient to warrant severance, however. Zafiro, 506 U.S. at 538; see United States v. Plato,

629 F.3d 646, 650 (7th Cir. 2010). A defendant must also show “prejudice to some specific trial

right.” United States v. Mietus, 237 F.3d 866, 873 (7th Cir. 2001); accord Plato, 629 F.3d at

651; Dimas, 3 F.3d at 1020; see United States v. Rollins, 301 F.3d 511, 518 (7th Cir. 2002) (“a

defendant must demonstrate that the denial of severance caused him ‘actual prejudice’ that

deprived him of his right to a fair trial”) (citations omitted); Vallone, 698 F.3d at 486; United

States v. Souffrant, 338 F.3d 809, 828 (7th Cir. 2003).4

        A.      Farella

        Farella argues that severance was required because his entrapment defense was mutually

antagonistic to that of Blais, and the presentation of both defenses compromised one of Farella’s



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          Farella supposes that mutually antagonistic defenses, where the acceptance of one defense
precludes the acquittal of the other defendant, are distinct from “truly inconsistent” defenses, where the
acceptance of one defense significantly undermines the jury’s ability to accept the other. Acknowledging
that he must show actual prejudice for mutually antagonistic defenses, he argues that where the defenses
are both mutually antagonistic and truly inconsistent, he need not show actual prejudice. (See Dkt. #256,
Farella Mem. at 10–11.) Apart from the lack of explanation of the substantive difference between the two
terms and any mooring to a reason why a different standard should apply, the argument is not grounded in
case law. His lifting of language from United States v. Goodwin, 496 F.3d 636 (7th Cir. 2007), stating
that “acceptance of one defendant’s defense precludes the acquittal of another defendant” is only prelude
to the court’s reiteration that the defendant had failed to demonstrate prejudice. Id. at 644 (citing Zafiro,
506 U.S. at 538, 113 S. Ct. at 937); see also, e.g., Mietus, 237 F.3d at 873 (“Even a showing that two
defendants have ‘mutually antagonistic defenses,’ that is, that the jury’s acceptance of one defense
precludes any possibility of acquittal for the other defendant, is not sufficient grounds to require a
severance unless the defendant also shows prejudice to some specific trial right.”). Thus, to succeed on
his motion, Farella must show that the two defenses were mutually antagonistic and that the presentation
of both defenses prejudiced one of Farella’s specific trial rights.

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specific trial rights and prevented the jury from making a reliable determination of his guilt or

innocence.

                i.      Mutually Antagonistic Defenses

        Farella first argues that severance was required because his entrapment defense and

Blais’s coercion defense were mutually antagonistic. To submit a defense of entrapment to the

jury, Farella had to demonstrate that (1) the government induced him to commit the offense; and

(2) he was not otherwise predisposed to engage in the criminal conduct. United States v.

Pillado, 656 F.3d 754, 763 (7th Cir. 2011); United States v. Santiago-Godinez, 12 F.3d 722, 728

(7th Cir. 1993). Once Farella established both elements, the burden shifted to the government to

prove beyond a reasonable doubt either that Farella was not induced or that he was predisposed

to commit the offense. See United States v. Lewis, 641 F.3d 773, 781 (7th Cir. 2011); Tr.

2386–88. The first prong of the defense was not contested at trial and the bulk of the evidence

related to Farella’s predisposition (or lack thereof) to commit the offense.

        At trial, Blais presented what he characterized as a “lack of intent” defense, but which the

court concluded also qualified as a coercion defense.5 To succeed on a coercion defense, Blais

had to show that (1) he reasonably feared death or serious bodily harm unless he committed the

offense; and (2) there was no reasonable opportunity for him to refuse to commit the offense and

avoid the threatened injury. See Lewis, 641 F.3d at 782; Tr. 2415–16.

        As recounted in the Background section, Farella testified that he was not predisposed to

commit the offense and that Steve, the government informant, induced him into it. Under



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         See part IV.B below re: Blais’s argument that a coercion defense instruction was reversible error
because his actual defense was a lack of intent to commit the crime. Farella argues on the basis of a
coercion defense and it is addressed as such.

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Farella’s theory, he was already entrapped by the time he met with Steve and Agent Bayless on

January 16, 2009. From this point onward, testified Farella, his conduct towards Agent Bayless

and Jamie was simply an “act” to appear tough and to convince Agent Bayless that he was the

right person for the job. Farella argues that Blais’s coercion defense was antagonistic to his own

because Blais had to show that he reasonably feared death or serious bodily harm at the hands of

Farella. As such, argues Farella, if the jury believed Blais’s testimony that he reasonably feared

Farella, then it could not accept Farella’s testimony that he was not predisposed to commit the

offense.

        According to Farella, by the time he met Blais he was already entrapped, and he

pretended to appear tough so as to convince Agent Bayless that he was capable of committing

the offense. The evidence that he behaved like a thug in Blais’s presence was consistent with

Farella’s determination to commit the crime because Steve led him to believe he could save his

sister’s life.6 Although Farella testified that he only acted tough in front of Agent Bayless and

Jamie and not his co-defendants, a reasonable juror could conclude that Farella maintained his

tough guy act in front of Blais.7 Indeed, Farella admitted that Blais witnessed at least part of this

“act” when defendants met with Agent Bayless and Jamie at Portillo’s to discuss the details of

the robbery the night before their arrest. In short, if the jury had believed that Blais went ahead




        6
           Moreover, Farella’s testimony that he only acted tough in front of Agent Bayless and Jamie and
not Blais speaks primarily to whether he was reluctant to engage in the criminal activity. Reluctance, or
lack thereof, was only one of the factors the jury was instructed to consider when determining whether
Farella was predisposed to commit the offense. (See Dkt. #217 at 32 of 55.)
        7
         The jury was instructed “to decide whether the testimony of each of the witnesses is truthful
and accurate, in whole, in part or not at all, as well as what weight, if any, you give to the testimony of
each witness.” (Tr. 2376.)

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with the crime because he was afraid of Farella, as Blais testified, it could also have concluded

that Farella was entrapped.

       Farella relies on United States v. Buljuasic, 808 F.2d 1260 (7th Cir. 1987), in which the

district court granted severance mid-trial after the co-defendant proffered that the defendant

delivered money in payment for arson of the defendant’s building because the defendant had

threatened him “that a goon was waiting outside.” Id. at 1264. Because the defendant denied

having any knowledge of or involvement in the arson, the district court concluded that the

acceptance of one defense precluded acceptance of the other and granted severance. This

decision was not examined on appeal; thus, the appeals court had no occasion to consider the

issue decided several years later in Zafiro. In any event, unlike the situation in Buljuasic, Farella

did not contend that he was uninvolved such that Blais’s testimony linked him to the crime. Nor

was Blais the only one to testify to Farella’s tough guy demeanor, including Farella himself.

       Although Blais’s testimony that he thought Farella was dangerous did not serve Farella’s

position that he lacked predisposition, “some tension” between defenses is tolerable. United

States v. Olson, 450 F.3d 655, 677 (7th Cir. 2006); see United States v. Hoover, 246 F.3d 1054,

1061 (7th Cir. 2001) (“Finger-pointing among the defendants is not only acceptable but also a

benefit of a joint trial, for it helps the jury to assess the role of each defendant.”); accord United

States v. Hardiman, Nos. 06-2951, 06-4087, 2007 WL 2445989, at *2 (7th Cir. Aug. 29, 2007).

Thus, the fact that Blais’s testimony painted Farella in an unflattering light is insufficient to

demonstrate that the two defenses were mutually antagonistic as a matter of law. Cf. United




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States v. McClurge, 311 F.3d 866, 871 (7th Cir. 2002) (no mutual antagonism where one

defendant argued non-involvement and the other argued coercion).8

                 ii.     Prejudice

        Even if the two defenses were mutually antagonistic, Farella fails to show that the

presentation of both defenses compromised one of his specific trial rights and prevented the jury

from making a reliable determination of his guilt or innocence. Farella argues that his rights

were prejudiced because (1) Blais’s testimony resulted in the admission of improper character

evidence; (2) Farella did not receive adequate notice that Blais intended to pursue a coercion-like

defense; and (3) Blais’s counsel acted as a de facto second prosecutor against Farella.

                         1.       Admission of Character Evidence

        Farella argues that testimony concerning his character, although admissible as to Blais to

show the effect on the listener, was inadmissible as to him because it supported the conclusion

that he was of bad character and acted in accordance therewith in committing the offense. See

Fed. R. Evid. 404(b). “[A]s a general proposition, . . . character evidence may be used to prove

predisposition, if its probative value outweighs its potential for unfair prejudice.” United

States v. Murzyn, 631 F.2d 525, 528–29 (7th Cir. 1980) (collecting cases).

        In Zafiro, the Court acknowledged that a joint trial could prejudice a specific trial right of

a defendant when “[e]vidence that is probative of a defendant’s guilt but technically admissible

only against a codefendant also might present a risk of prejudice.” 506 U.S. at 539 (citing

Bruton v. United States, 391 U.S. 123, 88 S. Ct. 1620, 20 L. Ed. 2d 476 (1968)). But where



        8
          Farella also argues that the core factual assertions made by him and Blais were inconsistent.
Although Farella and Blais recalled certain facts differently, these factual inconsistencies are insufficient
to prejudice one of Farella’s specific trial rights.

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Farella was able to cross-examine Blais and he also testified, he cannot rest on a Bruton-type

argument.

       Some of Blais’s testimony (e.g., that based on a “gut feeling” he thought Farella “was at a

minimum an ex-con” and a “dangerous guy” (Tr. 2230–32)) would not have been admissible

under Rule 404(a) had it been offered by the government. On the other hand, Farella’s actions

leading up to the planned robbery are highly relevant and, as previously discussed, the jury could

have credited either or both defendants’ testimony and still found that Farella was entrapped.

Furthermore, Farella failed to object to most of the testimony that he now challenges. When he

did object the court sustained his objections and instructed the jury that the evidence was to be

considered only for its effect on the listener, not for its truth. (See Tr. 2247, 2268–69 (sustaining

Farella’s objections); id. at 2242 (instructing the jury that Blais’s answer to the question “[w]hat,

if anything . . . did Frankie Farella tell you about what . . . happened [between him and Agent

Bayless] in the men’s room” of Portillo’s could “only be considered for the effect on the listener,

not whether it is true or that it is true”).) A jury is presumed capable of following the court’s

instructions, see United States v. Lopez, 6 F.3d 1281, 1286 (7th Cir. 1993), and at the close of

trial, the court specifically instructed the jury to “give each of [the defendants] separate

consideration” and “analyze what the evidence shows about each defendant, leaving out

consideration of any evidence that was admitted solely against one of the defendants.” (Dkt.

#217 at 19 of 55.) The court therefore concludes that the admission of this evidence as to Blais

was not unfairly prejudicial to Farella. Cf. Zafiro, 506 U.S. at 539 (“The risk of prejudice will

vary with the facts in each case . . . [and] less drastic measures [than severance], such as limiting

instructions, often will suffice to cure any risk of prejudice.”).



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                          2.      Inadequate Notice

        Farella argues that Blais’s late disclosure9 of his defense violated Farella’s Fifth and

Sixth Amendment right to fair notice of charges against him. These rights, however, flow from

the government to a criminal defendant. Farella cites no authority for his position that the

Constitution requires a defendant to notify his co-defendant of his anticipated defenses.

        Additionally, Farella argues that the late disclosure of Blais’s defense violated his Sixth

Amendment right to effective counsel because counsel was unable to thoroughly investigate

Blais’s past and veracity and was not fully prepared to cross-examine him. See U.S. CONST.

amend. VI. To succeed on a claim of ineffective assistance of counsel, Farella “must

demonstrate both that his counsel’s conduct fell below an objective standard of reasonableness

and that his counsel’s sub-standard performance prejudiced him.” United States v. Harris,

394 F.3d 543, 554 (7th Cir. 2005) (citing Strickland v. Washington, 466 U.S. 668, 687, 104 S.

Ct. 2052, 80 L. Ed. 2d 674 (1984)). The court has stressed that “[i]n assessing the adequacy of

counsel’s performance, the court’s scrutiny must be highly deferential.” Id. at 555. The few

flaws identified in Farella’s counsel’s performance fail to satisfy this standard. Moreover, even

if Farella could show that his counsel’s performance fell below an objective standard of

reasonableness, the court remains unconvinced that but for counsel’s alleged errors there is a

reasonable probability that he would have been acquitted.

        Blais’s impressions of Farella were consistent with the tough guy persona that he was

trying to project. In addition, Farella’s counsel effectively highlighted the weaknesses in Blais’s



        9
           Farella states that he did not learn until after the closing of his case-in-chief that Blais would
present a coercion defense. Prior to that time, Blais’s counsel had indicated that he would present a
defense of derivative entrapment.

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testimony on cross-examination,10 and Farella took the stand in rebuttal. For these reasons, the

court concludes that Blais’s late disclosure of his defense did not prejudice Farella’s specific trial

rights under the Fifth and Sixth Amendments.

                         3.      De facto second prosecutor

        Finally, Farella argues that he was unfairly prejudiced because Blais’s counsel acted as a

de facto second prosecutor against him and did not have a good-faith basis for questioning

Farella about his need to pay for his sister’s medication. See United States v. Sampol, 636 F.2d

621, 658 (D.C. Cir. 1980) (“[C]ounsel must have a reasonable basis for asking questions on

cross-examination which tend to incriminate or degrade the witness and thereby create an

unfounded bias which subsequent testimony cannot fully dispel.”) (cited in United States v. Holt,

817 F.2d 1264, 1274 (7th Cir. 1987)). Blais’s counsel cross-examined Farella two times. The

second time, the tone of the cross-examination was openly hostile. This second cross-

examination, however, was limited in duration and the court sustained most of Farella’s

counsel’s objections. As previously discussed, blame shifting among co-defendants is an

accepted side effect of joint trials, and the fact that a defendant or his attorney “is a de facto

prosecutor who will shift blame from himself to [co-defendants] . . . [does not typically] justif[y]

severance.” United States v. Andreas, 23 F. Supp. 2d 835, 847 (N.D. Ill. 1998). Any prejudice

that resulted from Blais’s counsel’s limited cross-examination of Farella was insufficient to

warrant severance.

        B.      Blais



        10
           For example, Blais admitted on cross-examination that he “could have made the decision . . .
to walk away [from the robbery], but . . . hindsight is always 20/20” supporting the inference that Farella
did not coerce him. (Tr. 2336.)

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       For many of the same reasons already discussed, Blais argues that the court erred in

refusing to sever his trial from that of Farella. Having already concluded that the two defenses

were not mutually antagonistic and that the jury was free to credit none, all or part of each

defendants’ testimony, the court finds that it did not err in denying Blais’s motion to sever.

       C.      Catanzaro

       Catanzaro argues that Farella’s entrapment defense was antagonistic to his own defense

of non-involvement because, once the jury found Farella’s defense unpersuasive, it was virtually

impossible to acquit Catanzaro, the man whom Farella asserted was his accomplice. As noted by

the government, “defenses of entrapment and non-involvement are not mutually antagonistic; the

jury could consistently believe one, both, or neither of the defenses, and acceptance of one [does]

not spell doom for the other defendant.” Dimas, 3 F.3d at 1020. For these reasons, and those

already discussed, the court concludes that Catanzaro has failed to show that severance was

required. Defendants’ motions for a judgment of acquittal or alternatively for a new trial based

on the court’s denial of their respective motions to sever are therefore denied.

II.    Sufficiency of the Evidence

       Defendants next argue that they are entitled to a judgment of acquittal or alternatively for

a new trial because the evidence at trial was insufficient to sustain the verdict against them.

       A.      Farella

       Farella challenges the sufficiency of the evidence arguing that the government failed to

satisfy its burden of proof with regard to his entrapment defense. “Where a defendant offers a

defense of entrapment, the government must prove either that it did not induce the defendant to

commit the crime, or that the defendant had a predisposition to commit the crime.” United


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States v. Villegas, 655 F.3d 662, 674 (7th Cir. 2011). To satisfy its burden to prove

predisposition, the government presented audio and video recordings, witness testimony, phone

records, photographs, past crimes evidence, and other evidence demonstrating that Farella was

predisposed to commit the offense.11 This evidence was more than sufficient to allow a

reasonable juror to conclude that Farella was not entrapped and the court will not disturb the

jury’s verdict.12

        B.      Blais and Catanzaro

        Blais and Catanzaro argue that the evidence at trial was insufficient to support the jury’s

verdict but offer little factual or legal authority in support of their positions. Even a brief review

of the government’s evidence demonstrates that the evidence was sufficient to sustain the jury’s

verdict against them; therefore, their respective motions are denied.

III.    Evidentiary Rulings


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             The government, for example, presented (1) recordings of the first meeting between Farella
and Agent Bayless where Farella discusses selling drugs and tells Agent Bayless, “I’m a fuckin’
murderer” and “you can just ask anybody about me, brother;” (2) recordings where Farella discussed
circumstances that necessitated killing the stash house guards; (3) evidence that it was Farella’s idea to
rob the stash house dressed as police officers, to secure phony license places and place sandbags in the
getaway car to protect from bullets, and to conduct surveillance of the stash house in advance of the
robbery; (4) evidence that Farella recruited Catanzaro to participate in the robbery; (5) testimony that
Farella showed Agent Bayless a .45 caliber pistol in the Portillo’s restroom; (6) text messages Farella sent
to his girlfriend in the days leading up to the robbery stating that “I am doing this u cant change my mind
so don’t try,” and “on mission at 3 pm;” and (7) evidence that Farella showed up to rob the stash house
armed with a 9 millimeter pistol.
        12
            Farella argues that the government was required to produce evidence that Farella was
predisposed to commit the offense before Steve induced him. (Dkt. #256, Farella Mem. at 39–40; Dkt
#272, Farella Reply at 10.) He also argues that the government was required to prove that he was
predisposed to conspire to possess a specific quantity of cocaine. (See Dkt. #256, Farella Mem. at 40.)
Farella cites no legal authority to support these positions and the court declines to consider them. See
United States v. Holm, 326 F.3d 872, 877 (7th Cir. 2003) (“It is not the obligation of this court to research
and construct the legal arguments open to parties, especially when they are represented by counsel.”
(internal quotation marks omitted)); see also United States v. Andreas, 150 F.3d 766, 769 (7th Cir. 1998)
(“[P]erfunctory and undeveloped arguments (even constitutional ones) are waived[.]”).

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        Defendants next argue that they are entitled to a new trial based on a number of the

court’s evidentiary rulings. To justify a new trial under Rule 33, an evidentiary ruling must be

not only error but harmful error. See United States v. Owens, 424 F.3d 649, 653 (7th Cir. 2005).

An error is harmful if it affects a defendant’s “substantial rights.” Fed. R. Crim. P. 52(a). “To

affect substantial rights, in most cases the error must have been prejudicial, i.e. it must have

affected the outcome of the case.” United States v. Patterson, 23 F.3d 1239, 1255 (7th Cir.

1994) (internal quotation marks omitted); see Owens, 424 F.3d at 653 (error harmful if it “had a

substantial influence over the jury, and the result reached was inconsistent with substantial

justice” (internal quotation marks omitted)).

        A.      Farella

        Farella argues that the court erred in (1) admitting evidence from his proffer session; (2)

admitting testimony regarding his legal research; and (3) precluding him from cross-examining

Agent Bayless concerning his motive and bias.

                i.      Admission of Evidence from Farella’s Proffer Session

        Farella first argues that the court erred by allowing the government to impeach him with

statements he made during a proffer session with the United States Attorney’s Office. Federal

Rule of Evidence 410 provides that statements made by a defendant during plea discussions with

a prosecuting attorney, where the discussions do not result in a guilty plea, are inadmissible

against that defendant. Fed. R. Evid. 410(a)(4); see also Fed. R. Crim. P. 11(f). A defendant,

however, “waives any objection to the use of his own proffer statements to impeach him at trial

when he signs a proffer letter that specifically grants the government permission to impeach him

if he testifies inconsistently, and later proceeds to testify inconsistently at trial.” United States v.


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Dortch, 5 F.3d 1056, 1068 (7th Cir. 1993); see also United States v. Krilich, 159 F.3d 1020,

1025 (7th Cir. 1999) (stating that the proffer “agreement allowed the prosecutor to use the

proffer as evidence if [the defendant] were to testify contrary to the substance of the proffer or

otherwise present a position inconsistent with the proffer” (internal quotation marks omitted)).

        On February 6, 2009, Farella held a proffer interview with the government. During the

interview, the government gave Farella a letter, which stated that the government would not use

information from that proffer session in its case-in-chief during any subsequent prosecution but

reserved the right to impeach Farella if he testified inconsistently at a subsequent trial. During

Farella’s direct examination, the government stated that it intended to impeach him on cross-

examination with evidence from his proffer session. The government, however, could not locate

Farella’s signed proffer letter indicating that he had waived his rights under Rule 410.13

        The court held an evidentiary hearing to determine whether Farella knowingly and

voluntarily waived his rights by participating in the proffer session. (See Tr. 1410–35,

1457–1512.) At the hearing, the government presented evidence that it was the regular practice

of the United States Attorney’s Office not to proceed with a proffer interview without securing a

signed proffer letter, although no one from the office could verify that Farella had, in fact, signed

such a letter. After hearing the evidence, the court concluded that it was more likely than not

that Farella signed the proffer letter thereby waiving his rights under Rule 410 should he testify

inconsistently at trial. (Id. at 1510–12.) Farella presents no persuasive reason why the court’s



        13
            Farella admits that the proffer letter stated “if your client should subsequently testify contrary
to the substance of the proffer, or otherwise present a position inconsistent with the profer [sic], nothing
shall prevent the government from using the substance of the proffer at sentencing for any purpose, at
trial for impeachment or in rebuttal testimony, or in a prosecution for perjury.” (Dkt. #195 at 4; see also
Tr. 1479.)

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previous ruling should be disturbed. Thus, for the reasons previously stated on the record, the

court concludes that it did not err by allowing the government to impeach Farella with

statements from his proffer session.

               ii.     Farella’s Legal Research Regarding Predisposition

       Farella next argues that the court erred by allowing the government to cross-examine

him regarding legal research he conducted while awaiting trial. According to the government,

on January 11, 2011, Farella placed a phone call from jail to his mother and stated that, based on

his legal research, he believed he was predisposed to commit the offense. Over Farella’s

lawyer’s objections, the government attempted to elicit this information from Farella on cross-

examination, asking, for example, “Mr. Farella, you have studied entrapment cases since late

December 2010, haven’t you?” and “you yourself believe that your aggravated robbery

conviction means that you were predisposed to commit the offense in this case[?]” (Tr. 1755.)

When required to answer, Farella answered “I don’t believe [that I was predisposed].” (Id. at

1758.) Eventually, the government abandoned this line of questioning stating that it would

return to the issue later but never did. Farella then filed a motion for reconsideration and the

court ruled that this line of questioning was improper and precluded the government from

inquiring further. (See Dkt. #202.)

       Farella now argues that the introduction of this evidence entitles him to a new trial. The

evidence at issue, however, only amounted to a few questions during the government’s extensive

cross-examination. Farella professed lack of memory in response to most of the government’s

questions and flatly denied that his legal research indicated that he was predisposed to commit

the offense. Any resulting prejudice was thus harmless and does not warrant disturbing the


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jury’s verdict. See United States v. Freitag, 230 F.3d 1019, 1024 (7th Cir. 2000) (finding

harmless error where “the challenged questions constituted only a small portion of the entire

cross-examination and there was no significant impact on [the] defense”).

               iii.    Cross-Examination of Agent Bayless

       Finally, Farella argues that he is entitled to a new trial because the court deprived him of

his Sixth Amendment right to confront witnesses against him by precluding him from cross-

examining Agent Bayless about certain statements that he made on the day of Farella’s arrest.

The Sixth Amendment’s Confrontation Clause “protects the defendant’s right to face those who

testify against him and to conduct cross-examination,” United States v. Reese, 666 F.3d 1007,

1020 (7th Cir. 2012), and includes a defendant’s right to test a witness’s bias. See United

States v. Walker, 673 F.3d 649, 657 (7th Cir. 2012). The court, however, may impose

reasonable limits on cross-examination “‘based on concerns about, among other things,

harassment, prejudice, confusion of the issues, the witness’ safety, or interrogation that is

repetitive or only marginally relevant.’” United States v. Vazquez, 635 F.3d 889, 894–95 (7th

Cir. 2011) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 679, 106 S. Ct. 1431, 89 L. Ed. 2d

674 (1986)).

       In a recording made the day of Farella’s arrest, Agent Bayless made a number of

statements to other agents that Farella argues were indicative of his bias against Farella. (See

Dkt. #188.) The court allowed Farella leeway to cross-examine Agent Bayless regarding some

of these statements but precluded him from arguing that these statements evidenced his lack of

predisposition to commit the offense. (See Tr. 607-19.) Farella now argues that the court’s

ruling did not go far enough because he was precluded from questioning Agent Bayless about a


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handful of specific statements made on the day of his arrest.14 A review of the record, however,

demonstrates that the court gave Farella ample opportunity to solicit Agent Bayless’s motive and

bias15 and the Confrontation Clause does not require otherwise. See United States v. Clark,

657 F.3d 578, 584 (7th Cir. 2011) (“[T]he Confrontation Clause does not a give a defendant a

boundless right to impugn the credibility of a witness[.]”); United States v. Linzy, 604 F.3d 319,

324 (7th Cir. 2010) (“[T]he Confrontation Clause guarantees only an opportunity for effective

cross-examination, not cross-examination that is effective in whatever way, and to whatever

extent, the defense might wish.” (internal quotation marks and emphasis omitted)). The court

did not err in limiting Farella’s cross-examination of Agent Bayless in this manner and, even if

one assumes that it did, the error was harmless.

        B.      Blais

        Blais argues that he is entitled to a new trial because the court erred by precluding him

from cross-examining Agent Bayless regarding the fact that the government declined to intercept

and record phone calls between Farella, Catanzaro and Blais despite its ability to do so. What

the government did not do in its investigation has no relevance to the central question in this

case, namely, whether Blais conspired with his co-defendants to possess and distribute cocaine.

Thus, the court concludes that it did not err in precluding Blais from soliciting such testimony.



        14
           Specifically, Farella argues that he was precluded from questioning Agent Bayless about the
following statements: (1) that Agent Bayless “got over a few bumps in the road”; (2) that Jamie was
“turning good deals for us”; (3) that “this [was] a total cold call”; and (4) that Agent Bayless “drew this
guy [Farella] in” and “whipped a game on this guy.” (Dkt. #256, Farella Mem. at 45.)
        15
            For example, Agent Bayless admitted on cross-examination that he previously stated that he
had “lit [Farella] up real good on the phone” and that he considered Farella to be “an aggravating piece of
shit.” (Tr. 780–81, 789.) Agent Bayless also admitted that he was concerned that defendants would come
up with an excuse not to complete the crime. (Tr. 786.)

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See United States v. Robbins, 197 F.3d 829, 845 (7th Cir. 1999) (district court did not abuse its

discretion in limiting cross-examination of agent’s investigative steps because it could have

“confuse[d] the jury and cause[d] it to speculate about what evidence is not before [it]”).

IV.      Jury Instructions

         Next, defendants argue that they are entitled to a judgment of acquittal or alternatively to

a new trial as a result of jury instruction errors. “[T]he district court [has] substantial discretion

to formulate the instructions so long as they represent a complete and correct statement of the

law.” United States v. Noel, 581 F.3d 490, 499 (7th Cir. 2009) (internal quotation marks and

indicators omitted). To receive a new trial based on erroneous jury instructions, “a defendant

must show both that the instructions did not adequately state the law and that the error was

prejudicial to [him] because the jury was likely to be confused or misled.” United States v.

White, 443 F.3d 582, 587 (7th Cir. 2006) (internal quotation marks omitted). “When assessing

whether prejudice has resulted, the Court must consider the instructions as a whole, along with

all the evidence and arguments in the case, and then decide whether the jury was misinformed

about the applicable law.” Warfield v. City of Chicago, 679 F. Supp. 2d 876, 884 (7th Cir.

2010).

         A.     Farella

         Farella argues that the court erred in failing to instruct the jury that the government must

disprove entrapment as to a specific drug amount. Instead, the court instructed the jury that the

government must prove that Farella was not entrapped and allowed the jury to determine the




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drug amount (if any) that Farella conspired to possess.16 Farella argues that these instructions

were improper because the government was required to prove that he was not entrapped as to the

specific drug quantity alleged in the indictment (5 kilograms or more of a substance containing

cocaine). The court need not address this argument, however, because Farella failed to object to

the disputed instructions at trial and agreed to a revised version of the instructions for Counts I

and II and the verdict form. See Tr. 2100–03, 2141–45, 2113–16, 2130–31, 2159, 2174; see also

United States v. DiSantis, 565 F.3d 354, 361 (7th Cir. 2009) (a defendant waives objection to a

jury instruction “if the record illustrates that the defendant approved of the instructions at issue”

(internal quotation marks omitted)); United States v. Murry, 395 F.3d 712, 717 (7th Cir. 2005)

(the defendant waived his objection to the jury instructions when “[t]he trial court asked [the

defendant’s] counsel twice whether he had any objections to the instructions and twice he replied

definitively that he did not.”); Flis v. Kia Motors Corp., No. 03-CV-1567, 2006 WL 3590210, at

*6 (S.D. Ind. Dec. 8, 2006) (finding that the plaintiffs “did not object at trial to [the] Final Jury

Instruction . . . and thus have waived it as an objection post-trial”).

        Moreover, considering that the robbery scheme always involved 50 kilograms of cocaine,

the court agrees with the government that the jury was unlikely to find that Farella was

predisposed to rob a stash house containing less than 5 kilograms of cocaine but was not

predisposed to rob a stash house containing 5 kilograms or more of cocaine, thereby compelling




        16
           See Tr. 2383 (“To sustain the charge of conspiracy to possess with the intent to distribute a
controlled substance against defendant Frank Farella, as charged in Count 1, the government must also
prove that defendant Farella was not entrapped.”); id. at 2397 (“If you find defendant Frank Farella guilty
of the offense charged in Count 1, then you must find the type and amount of controlled . . . substances
involved in the offense charged in Count 1 that has been proved beyond a reasonable doubt.”).

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his acquittal. For these reasons, Farella’s motion for a judgment of acquittal or alternatively for

a new trial is denied.

       B.      Blais

       Blais argues that he is entitled to a judgment or acquittal or alternatively for a new trial

because the court (1) refused to instruct the jury on the requirements of entrapment; and (2)

erroneously instructed the jury on the defense of coersion.

               i.        Entrapment Instruction

       Blais argues that the court erred in denying his request for an entrapment instruction.

A defendant is entitled to a jury instruction regarding a defense if “(1) the requested instruction

is a correct statement of the law; (2) the evidence supports the theory of the defense at issue; (3)

the defense is not part of the government’s charge; and (4) the failure to give the instruction

would deprive the defendant of a fair trial.” Hall, 608 F.3d at 342–43. Whether Blais was

entitled to such an instruction largely turns on the second prong of the test, whether the evidence

supported such a defense.

       Before and during trial, Blais attempted to advance a theory of derivative entrapment. In

United States v. Hollingsworth, 27 F.3d 1196 (7th Cir. 1994), the Seventh Circuit stated that a

defense of derivative entrapment arises “when a private individual, himself entrapped, acts as

agent or conduit for governmental efforts at entrapment.” Id. at 1204. In such a situation, “the

government as principal is bound.” Id. This defense is unavailable, however, when the private

individual at issue is not entrapped or he works with his accomplices to expand, embroider, or

elaborate the original scheme, and where the accomplice “independently of any embroidery by




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the first entrapee [is] predisposed to join in the scheme.” Id. at 1204–05 (internal quotation

marks omitted).

       The record demonstrates that the evidence did not support a theory of derivative

entrapment as to Blais because (a) defendants expanded on the original robbery scheme; and (b)

a reasonable juror could conclude that Blais was predisposed to commit the offense. Defendants

expanded on the original robbery scheme by deciding to disguise themselves as police officers.

Last, the evidence supports the conclusion that Blais was predisposed to participate in the

conspiracy. Both his demeanor at the Portillo’s meeting and his multiple suggestions on ways to

further the scheme suggest that he was a willing participant in the offense. The court considered

Blais’s motion to present a defense of derivative entrapment multiple times before and during the

trial. (See, e.g., Dkt. #204, Tr. 2145, 2178–81, 2357–58.) Each time the court concluded that he

had not presented sufficient evidence to support such a defense. Having listened to all the trial

evidence, the court remains unpersuaded that its previous rulings were incorrect.



               ii.     Coercion Instruction

       Blais next argues that the court erred in giving the government’s coercion instruction

over his objection. The record reflects, however, that although there was colloquy about the

form of the instruction, Blais’s counsel never indicated that he objected to giving any coercion

instruction. (Tr. 2343 ff.) Moreover, a jury instruction should be given when it “addresses an

issue reasonably raised by the evidence.” United States v. Tanner, 628 F.3d 890, 904 (7th Cir.

2010). An instruction on coercion is appropriate where the evidence shows that (1) the

defendant reasonably feared death or serious bodily harm unless he committed the offense; and


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(2) there was no reasonable opportunity to refuse to commit the offense and avoid the threatened

injury. Lewis, 641 F.3d at 782; see Tr. 2415–16.17 Blais testified that he participated in the

events leading up to his arrest because he feared retaliation from Farella if he did not. This

testimony falls within the rubric of coercion and instructing the jury as such was not incorrect.

See United States v. Sanders, 962 F.2d 660, 676 (7th Cir. 1992) (coercion instruction appropriate

where “a number of defendants argued that they did not enter this crime scheme willingly, but

instead joined out of fear of what would happen . . . if they did not participate”).18



V.      Miscellaneous Objections

        Finally, Blais argues that the court erred in various other ways; none of which warrants

acquittal or a new trial. Blais first argues that the court erred by allowing the government to

amend Counts III and IV of the indictment to replace the plural use of “firearms” with the

singular use of “firearm.” The court previously considered and rejected Blais’s arguments on

this issue and he fails to persuade the court that its reasoning was incorrect. (See Dkt. #107.)




        17
            Blais argues that his testimony about fearing retaliation from Farella evidenced his lack of
intent to conspire with his co-defendants to commit the offense and was not indicative of coercion. In
United States v. Madoch, 149 F.3d 596, 599 (7th Cir. 1998), the Seventh Circuit distinguished between a
coercion defense and a defense based on lack of intent noting that in the former “the defendant essentially
says that [he] understood what [he] was doing, but that [his] actions were compelled by a well-grounded,
unavoidable, and immediate threat of death or serious bodily injury” while in the latter “the defendant
argues that because of a diminished capacity [he] had no knowledge or intent to take the actions [he]
did[.]” (internal citations omitted). Blais’s testimony that he committed the offense based on his fear of
Farella supports a coercion defense.
        18
           Blais also argues that the court erred by giving the jury an instruction based on Pinkerton v.
United States, 328 U.S. 640, 66 S. Ct. 1180, 90 L. Ed. 1489 (1946). Blais’s argument on this issue is
perfunctory and undeveloped and the court declines to address it. See Andreas, 150 F.3d at 769.

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        Blais also argues that the court erred in sustaining the government’s objections and

unduly restricting his closing argument. A review of the record demonstrates that Blais made

several closing arguments that were inflammatory and/or irrelevant and that the government’s

objections were properly sustained.19 See Herring v. New York, 422 U.S. 853, 862, 95 S. Ct.

2550, 45 L. Ed. 2d 593 (1975) (“The presiding judge must be and is given great latitude in . . .

limiting the scope of closing summations.”); United States v. White, 472 F.3d 458, 462–63 (7th

Cir. 2006) (“The trial judge has the discretion to limit argument over time-consuming peripheral

issues in the interests of judicial economy and reducing juror confusion.” (internal quotation

marks omitted)). Blais’s remaining arguments are undeveloped and unsupported by citation to

legal authority and will not be considered in any detail here. See Andreas, 150 F.3d at 769. His

motion for a judgment of acquittal or alternatively for a new trial is therefore denied.

                                   CONCLUSION AND ORDER

        For the foregoing reasons, defendants’ post-trial motions (dkt. #238, 239, 240) are

denied. The case will be called for a status hearing to set sentencing dates set for September 11,

2013 at 9:00 a.m. for defendants Farella and Catanzaro and on September 18, 2013 at 9:00 a.m.

for defendant Blais.



Dated: August 8, 2013                                    Enter: ______________________________
                                                                 JOAN HUMPHREY LEFKOW
                                                                 United States District Court




        19
          For example, Blais’s counsel stated, “I told you . . . that this case would be about sadistic
manipulation;” he also commented on the government’s investigation techniques stating, “I wish there
were wiretaps on Frank Farella’s phone.” (Tr. 2595, 2600–01.)

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